UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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JANE DOE,                                                       :
                                                                : Civil Case No.: 1:23-cv-10628 (JGLC)
                                    Plaintiff,                  :
                                                                :
                  v.                                            :
                                                                :      NOTICE OF MOTION
SEAN COMBS; HARVE PIERRE; THE THIRD                             :
ASSAILANT; DADDY’S HOUSE RECORDINGS, :
INC. and BAD BOY ENTERTAINMENT                                  :
HOLDINGS, INC.,                                                 :
                                                                :
                                    Defendants.                 :
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        PLEASE TAKE NOTICE that on a date and time to be set by the Court, Plaintiff Jane

Doe (“Plaintiff”), by and through her attorneys, Wigdor LLP, shall move for entry of an Order

granting Plaintiff’s Motion to Proceed Anonymously.

        PLEASE TAKE FURTHER NOTICE that the moving party shall rely upon the

accompanying Motion and Incorporated Memorandum of Law in support thereof.

Dated: December 11, 2023
       New York, New York                               Respectfully submitted,

                                                        WIGDOR LLP


                                                        By: _____________________________
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